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     Attorneys for Plaintiff Lars Jensen
12
                                      UNITED STATES DISTRICT COURT
13
                                           DISTRICT OF NEVADA
14
       LARS JENSEN, an individual,
15                                                                   Case No. 3:22-cv-00045-ART-CLB
                         Plaintiff,
16
           v.
17
       NATALIE BROWN, in her individual and                          REQUEST FOR JUDICIAL NOTICE IN
18     official capacities as Administrative Officer at              SUPPORT OF PLAINTIFF’S
       Truckee Meadows Community College; JULIE                      RESPONSE IN OPPOSITION TO
19
       ELLSWORTH, in her individual and official                     DEFENDANTS’ MOTION TO DISMISS
20     capacities as Dean of Sciences at Truckee                     THE FIRST AMENDED COMPLAINT
       Meadows Community College; ANNE
21     FLESHER, in her individual and official
22
       capacities as Dean of Math and Physical
       Sciences at Truckee Meadows Community
23     College; KARIN HILGERSOM, in her
       individual and official capacities as President of
24     Truckee Meadows Community College;
25
       MARIE MURGOLO, in her individual and
       official capacities as Vice President of
26     Academic Affairs at Truckee Meadows
       Community College; MELODY ROSE, in her
27

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                 Request for Judicial Notice in Support of Plaintiff’s Response in Opposition to Motion to Dismiss
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       individual and official capacities as Chancellor
1
       of the Nevada System of Higher Education,
2
                          Defendants.
3

4

5
            Plaintiff, LARS JENSEN, by and through his undersigned counsel, hereby request,

6    pursuant to Rule 201 of the Federal Rules of Evidence, that this Court take judicial notice of the
7    following items in connection with Plaintiff’s Response in Opposition to Defendants’ Motion to
8
     Dismiss the First Amended Complaint:
9
            1. Exhibit A: Plaintiff David Demers, Complaint Exhibit A, Demers v. Austin, et al.,
10

11              Case No. 2:09-cv-00334-RHW (E.D. Wash.)(hereinafter “Demers v. Austin”) ECF

12              No. 1-2.
13
            2. Exhibit B: Arthur E. Bester, Aimlessness in Education, The Scientific Monthly, Vol.
14
                75, No.2 (Aug. 1952), pp. 109-116. Published By: American Association for the
15
                Advancement of Science.
16

17          3. Exhibit C: Letter to Plaintiff Lars Jensen from Mark Criley, Senior Program Officer

18              at the American Association of University Professors on October 21, 2021.
19
                (attachments included).
20
            4. Exhibit D: Letter to President Hilgersom from Joshua Bleisch, Faculty Legal Defense
21
                Fund Fellow, at the Foundation for Individual Rights in Education (hereinafter
22

23              “FIRE”) on October 1, 2021.

24          5. Exhibit E: Letter to President Hilgersom from Keith Whittington, Chair of the
25
                Academic Committee at the Academic Freedom Alliance on October 22, 2021.
26

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                 Request for Judicial Notice in Support of Plaintiff’s Response in Opposition to Motion to Dismiss
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             This Court may take judicial notice of a fact if it is “generally known within the territorial
1

2    jurisdiction of the trial court” or “capable of accurate and ready determination by resort to

3    sources whose accuracy cannot be reasonably questioned, so that the fact is not subject to
4
     reasonable dispute.” Fed. R. Evid. 201. Further this Court may also take judicial notice of
5
     documents that are incorporated by reference in the plaintiff’s complaint, although not attached,
6

7
     to a complaint if: (1) the complaint refers to the document, (2) it is central to the plaintiff's

8    claims, and (3) the authenticity of the document is not disputed. United States v. Corinthian
9    Colleges, 655 F.3d 984, 999 (9th Cir. 2011).
10
             Exhibit A is a court record from Demers v. Austin, which is an undisputed public record
11
     since it was filed in federal court. Exhibit B is a published academic paper that was the subject
12

13   of the litigation in State ex rel. Richardson v. Board of Regents, 70 Nev. 144 (1954). Exhibits C

14   through E are documents incorporated by reference in Plaintiff’s First Amended Complaint (ECF
15
     No. 8) and they are generally known within the territorial jurisdiction of this Court since they
16
     were either published by, quoted in, or linked to in the following: (1) ThisisReno, (2) Nevada
17
     Independent, (3) Academe, or (4) the FIRE website. Further, this Court may take judicial notice
18

19   of information contained in news stories “as an indication of what is in the public realm.” Von

20   Saher v. Norton Simon Museum of Art of Pasadena, 592 F.3d 954, 960 (9th Cir. 2010);
21
     Heliotrope Gen., Inc. v. Ford Motor Co., 189 F.3d 971,981 (9th Cir. 1999).
22
             Links to each of the above can be found in full below:
23

24
             https://www.thefire.org/fire-letter-to-truckee-meadows-community-college-october-1-

25   2021/
26           https://thenevadaindependent.com/article/math-curriculum-fight-spotlights-college-
27
     faculty-discipline-disputes
28
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            https://thisisreno.com/2021/10/higher-ed-faculty-interested-tmcc-alleged-academic-
1

2    freedom-violations/

3           https://academeblog.org/2021/11/03/in-defense-of-lars-jensen-part-1/
4
            In sum, the above items meet the requirements of Rule 201 of the Federal Rules of
5
     Evidence, and therefore, the Court must take judicial notice of them pursuant to Rule 201(c)(2).
6

7
     DATED: April 13, 2022

8                                                                    Respectfully submitted,
9                                                              By: /s/ John M. Nolan
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                                         INDEX OF EXHIBITS
1

2
     Exhibit #                             Description                                   Number of
3
                                                                                           Pages
4    A            7-Step Plan from Demers v. Austin                                     5
5    B            Article titled “Aimlessness in Education”                             9

6    C            Letter to Lars Jensen from Mark Criley                                16
7
     D            Letter to President Hilgersom from Joshua Bleisch                     6
8
     E            Letter to President Hilgersom from Keith                              2
9
                  Whittington
10

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